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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 MELISSA HARTMAN, on behalf of herself and                       Civil Action No.:
 all others similarly situated,
     Plaintiff                                                   COMPLAINT – CLASS ACTION

 v.

 MEDICREDIT, INC.                                                JURY TRIAL DEMANDED
 and JOHN DOES 1-25,
    Defendants

                                           COMPLAINT

                                         INTRODUCTION

       1.      Defendant, Medicredit, Inc. ("Medicredit"), violated the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”).

       2.      Medicredit is subject to strict liability for sending collection letters that exposed

personal identifying information visibly on the envelope placed in the mail.

                                 JURISDICTION AND VENUE

       3.      The Court has jurisdiction over this class action under 28 U.S.C. § 1331, 15 U.S.C.

§ 1692 et seq. and 28 U.S.C. § 2201.

       4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) because

Plaintiff resides in Westmoreland County, Pennsylvania, which is within this District, and because

a substantial part of the events giving rise to the claim occurred in this District.

                                              PARTIES

       5.      Plaintiff, Melissa Hartman (“Hartman”), is a natural person who resides in the

Commonwealth of Pennsylvania and is a consumer as defined in the FDCPA.

       6.      Medicredit is a business entity with offices at 3620 Interstate 70 Drive SE,

Columbia, MO 65201-6582.
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       7.      Medicredit acts as a debt collector as defined by § 1692a of the FDCPA because it

regularly uses the mail and/or the telephone to collect, or attempt to collect, directly or indirectly,

delinquent consumer debts.

       8.      John Does 1-25 are fictitious names of individuals and businesses alleged for the

purpose of substituting names of Defendants whose identities will be disclosed in discovery and

should be made parties to this action.

                                    STATEMENT OF CLAIM

       9.      Hartman allegedly incurred two “UPP University of Pittsburgh Phys” debts (the

"Debt").

       10.     The Debt was primarily for personal, family or household purposes, and is therefore

a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

       11.     On or about December 7, 2014, Medicredit mailed two collection letters to Hartman

in an attempt to collect the Debt (the “December 7 Letters”). A copy of the December 7 Letters,

redacted for security purposes, are attached hereto as Exhibit A.

       12.     The December 7 Letters were collection letters that were placed into the mail.

       13.     Visible on the exterior of the the December 7 Letters, above Hartman’s name and

address, was a number ending in 8651.

       14.     The December 7 Letters identified the number ending in 8651 as being the

consumer number for Hartman.

       15.     The consumer number constitutes personal identifying information.

       16.     On at least two occasions, and maybe more, Medicredit exposed Hartman’s

personal identifying information the letters it sent through the mail.

       17.     The number is not meaningless – it is a piece of information capable of identifying

[the consumer] as a debtor, and its disclosure has the potential to cause harm to a consumer that
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the FDCPA was enacted to address. Douglass v. Convergent Outsourcing, 765 F. 3d 299 (Third

Cir. 2014).

       18.     The FDCPA prohibits the use of unfair or unconscionable means to collect or

attempt to collect a debt, including the use of any language or symbol other than the debt collector’s

name and address on any envelope when communicating with a consumer by mail. 15 U.S.C. §

1692f(8).

       19.     Upon receiving the December 7 Letters, Hartman read them.

       20.     On information and belief, the December 7 Letters were Medicredit’s initial

communication with Hartman regarding the Debt.

       21.     The December 7 Letters contained validation notices.

       22.     The December 7 letters further stated in part:

               This is to inform you that Upp University of Pittsburgh Phys has
               placed your account with this agency with the full intention of
               collecting this account. Please give this past due account the
               attention it deserves:

               Please either:
                      1.      Remit payment in full to this office or,
                      2.      Contact this office in person or by telephone to
               arrange resolution of the account.
                      3.      For payments, express mail, MoneyGram
               information, call…

       23.     After reading said statement, the consumer is left to believe that their only options

to avoid further collection activity are paying the alleged debt or contacting them to “arrange

resolution,” which is untrue.

       24.     Defendant’s actions as described herein are part of a pattern and practice used to

collect consumer debts.
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       25.      Defendant could have taken the steps necessary to bring its actions within

compliance with the FDCPA, but neglected to do so and failed to adequately review its actions to

ensure compliance with the law.

       26.      On information and belief, Defendant sent a collection letter in the form annexed

hereto as Exhibit A to at least 50 natural persons in the Commonwealth of Pennsylvania within

one year prior to the date of this Complaint.

                                CLASS ACTION STATEMENT

       27.      Plaintiff brings this action on behalf of herself and of a Class designated pursuant

to Rules 23(a) and 23(b)(3) of the Federal Rules of Civil Procedure.

       28.      Plaintiff proposes to define the class as follows:

                a.     All Pennsylvania consumers;

                b.     Who were sent one or more collection letter(s) from Medicredit;

                c.     Attempting to collect a consumer debt allegedly owed to UPP University

       of Pittsburgh Phys;

                d.     Which contained a consumer number visible on the exterior of the letter;

                e.     During the one year prior to the filing date of this Complaint.

       29.      The Class satisfies all the requirements of Rule 23 of the FRCP for maintaining a

class action.

       30.      Upon information and belief, the Class is so numerous that joinder of all members

is impracticable because there are hundreds or thousands of persons who received debt collection

letters or notices from the Defendant that violate specific provisions of the FDCPA.

       31.      There are questions of law and fact which are common to the Class and which

predominate over questions affecting any individual Class member. These common questions of

law and fact include, without limitation:
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               a.       Whether Defendant violated the FDCPA;

               b.       Whether Plaintiff and the Class have been injured by Defendant’s conduct;

       and

               c.       Whether Plaintiff and the Class have sustained damages and are entitled to

       restitution as a result of Defendant’s wrongdoing and if so, the proper measure and

       appropriate statutory formula to be applied in determining such damages and restitution.

       32.     Plaintiff’s claims are typical of the Class, which all arise from the same operative

facts and are based on the same legal theories.

       33.     Plaintiff has no interest adverse or antagonistic to the interest of the other

members of the Class.

       34.     Plaintiff will fairly and adequately protect the interests of the Class and has

retained experienced and competent attorneys to represent the Class.

       35.     A Class Action is superior to other methods for the fair and efficient adjudication

of the claims herein asserted. Plaintiff anticipates that no unusual difficulties are likely to be

encountered in the management of this Class Action.

       36.     A Class Action will permit large numbers of similarly situated persons to prosecute

their common claims in a single forum simultaneously and without the duplication of effort and

expense that numerous individual actions would engender. Class treatment will also permit the

adjudication of relatively small claims by many Class members who could not otherwise afford to

seek legal redress for the wrongs complained of herein. Most are probably unaware that the

FDCPA, and their rights, have been violated. Absent a Class Action, Class members will continue

to suffer losses of protected rights as well as monetary damages.
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                                        COUNT I
         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                     15 U.S.C. § 1692f
       37.   Medicredit violated 15 U.S.C. § 1692f by using unfair and unconscionable means

to collect or attempt to collect a debt as described above.

       38.     Medicredit violated 15 U.S.C. § 1692f(8) by using language or a symbol on any

envelope when communicating with a consumer by mail as described above.

                                COUNT II
         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                             15 U.S.C. § 1692e

       39.     Pursuant to 15 U.S.C. § 1692e, a debt collector may not use any false, deceptive or

misleading representation or means in connection with the collection of any debt.

       40.     Defendant violated the FDCPA, including but not limited to 15 U.S.C. § 1692e, by

sending collection letters to Plaintiff and the members of the class that violated provisions of the

FDCPA for using language which materially misrepresents to the least sophisticated consumer that

in order to avoid further collection activity a consumer must make payment or make other

payments arrangements, when in fact pursuant to 15 U.S.C. § 1692c(c) a consumer only needs to

inform a debt collector to cease all communications to avoid further collection activities.

                                COUNT III
         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                             15 U.S.C. § 1692g

       41.     Pursuant to 15 U.S.C. § 1692g, a debt collector must provide notice to consumers

within five days of the initial communication regarding the debt, stating the amount of the debt,

the name of the current creditor, and explaining the consumer’s right to dispute the debt and to

obtain verification.

       42.     The validation notice cannot be overshadowed with other language in the letter.
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        43.    Defendant violated 15 U.S.C. § 1692g by overshadowing the validation notice by

stating that Plaintiff only had three options, when in fact Plaintiff also had an option to dispute the

debt.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment against Defendant as follows:

   a) Declaring that this action is properly maintainable as a Class Action and certifying

        Plaintiff as Class representative and Mark G. Moynihan, Esq. as Class Counsel;

   b) Awarding Plaintiff and the Class statutory damages;

   c) Awarding Plaintiff and the Class actual damages;

   d) Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees and

        expenses;

   e) Awarding pre-judgment interest and post-judgment interest; and

   f) Awarding Plaintiff and the Class such other and further relief as this Court may deem just

        and proper.

                                  DEMAND FOR JURY TRIAL

               Plaintiff demands trial by jury as to all issues so triable.

                                                               Respectfully submitted,

        Dated: December 7, 2015                By:             /s/ Mark G. Moynihan
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